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AO 245B                Judgment in a Criminal Case - DISTRICT OF OREGON CUSTOMIZED (Rev. 9/2017)
                       Sheet 1


                                              UNITED STATES DISTRICT COURT
                                                   DISTRICT OF OREGON


UNITED STATES OF AMERICA                                                     JUDGMENT IN A CRIMINAL CASE
          Plaintiff,                                                         Case No.: 3:16-CR-00051-2-BR
v.                                                                           USM Number: 55142-408
JON RITZHEIMER                                                               Terri Wood,
                                                                             Defendant’s Attorney
          Defendant.
                                                                             Craig J. Gabriel,
                                                                             Assistant U.S. Attorney
THE DEFENDANT:
‫܈‬pleaded guilty to count(s) 1 of the Superseding Indictment.
The defendant is adjudicated guilty of the following offense(s):
                 Title, Section & Nature of Offense                                Date Offense Concluded                Count Number
18:372 CONSPIRACY TO IMPEDE OFFICERS OF THE                                  Beginning on or about 11/5/2015 and              1s
UNITED STATES                                                                     continuing until 2/12/2016

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.
‫܆‬The defendant has been found not guilty on count(s) and is discharged as to such count(s).
‫܈‬Count(s) 2 and 5 of the Superseding Indictment and the underlying Indictment are dismissed on the motion of the United States.
‫܈‬The defendant shall pay a special assessment in the amount of $100.00 for Count(s) 1 payable immediately to the Clerk of the U.S.
District Court. (See also the Criminal Monetary Penalties Sheet.)
IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in the defendant’s
economic circumstances.
                                                                             December 01, 2017
                                                                             Date
                                                                             Da
                                                                              ate of Imposition of Sentence


                                                                             Signature of Judicial
                                                                                          Judicial Officer
                                                                             Anna J. Brown, U.S. Senior District Judge
                                                                             Name and Title of Judicial Officer
                                                                             December 4, 2017
                                                                             Date
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AO 245B         Judgment in a Criminal Case - DISTRICT OF OREGON CUSTOMIZED (Rev. 9/2017)
                Sheet 2 - Imprisonment
DEFENDANT: JON RITZHEIMER                                                                                         Judgment-Page 2 of 7
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                                                        IMPRISONMENT
The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a term of 12 months and 1
day.

‫܈‬The court makes the following recommendations to the Bureau of Prisons: defendant be housed in a facility in the District of
Arizona (specifically Safford).



‫ ܆‬The defendant is remanded to the custody of the United States Marshal.
‫ ܆‬The defendant shall surrender to the custody of the United States Marshal for this district:
          ‫ ܆‬at ______ on _______________.
          ‫ ܆‬as notified by the United States Marshal.
‫ ܈‬The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          ‫ ܈‬before 2:00 P.M. on February 16, 2018.
          ‫ ܆‬as notified by the United States Marshal.
          ‫ ܆‬as notified by the Probation or Pretrial Services Office.

The Bureau of Prisons will determine the amount of prior custody that may be credited towards the service of sentence as authorized
by Title 18 USC §3585(b) and the policies of the Bureau of Prisons.

                                                              RETURN
I have executed this judgment as follows:




Defendant delivered on                                           to

at                                            , with a certified copy of this judgment.


                                                                                   UNITED STATES MARSHAL

                                                                            By:
                                                                                   DEPUTY UNITED STATES MARSHAL
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AO 245B         Judgment in a Criminal Case - DISTRICT OF OREGON CUSTOMIZED (Rev. 9/2017)
                Sheet 3 - Supervised Release
DEFENDANT: JON RITZHEIMER                                                                                         Judgment-Page 3 of 7
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                                                  SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years. Court recommends supervision
be transferred to the District of Arizona and strongly recommends defendant be placed in a RRC in Phoenix, Arizona.

                                               MANDATORY CONDITIONS
  1.      You must not commit another federal, state or local crime.
  2.      You must not unlawfully possess a controlled substance.
  3.      You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
          release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               ‫܆‬The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
               substance abuse. (check if applicable)
  4.      ‫ ܆‬You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check if applicable)
  5.      ‫ ܈‬You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
  6.      ‫ ܆‬You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
          seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you
          reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
  7.      ‫ ܆‬You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
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AO 245B         Judgment in a Criminal Case - DISTRICT OF OREGON CUSTOMIZED (Rev. 9/2017)
                Sheet 3A - Supervised Release
DEFENDANT: JON RITZHEIMER                                                                                             Judgment-Page 4 of 7
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                                    STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

  1.      You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
          your release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
          different time frame.
  2.      After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
          and when you must report to the probation officer, and you must report to the probation officer as instructed.
  3.      You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
          from the court or the probation officer.
  4.      You must answer truthfully the questions asked by your probation officer.
  5.      You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
          living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
          change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the
          probation officer within 72 hours of becoming aware of a change or expected change.
  6.      You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
          officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
  7.      You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses
          you from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation
          officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
          or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the
          probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation
          officer within 72 hours of becoming aware of a change or expected change.
  8.      You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
          been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
          permission of the probation officer.
  9.      If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10.      You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
          that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
          nunchakus or tasers).
 11.      You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
          without first getting the permission of the court.
 12.      If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
          may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
          contact the person and confirm that you have notified the person about the risk.
 13.      You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                        Date
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AO 245B         Judgment in a Criminal Case - DISTRICT OF OREGON CUSTOMIZED (Rev. 9/2017)
                Sheet 3D - Supervised Release
DEFENDANT: JON RITZHEIMER                                                                                            Judgment-Page 5 of 7
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                                      SPECIAL CONDITIONS OF SUPERVISION
  1.      You must submit your person, property, house, residence, vehicle, papers, or office to a search conducted by a United States
          probation officer. Failure to submit to a search may be grounds for revocation of release. You must warn any other occupants
          that the premises may be subject to searches pursuant to this condition. The probation officer may conduct a search under this
          condition only when reasonable suspicion exists that you have violated a condition of supervision and that the areas to be
          searched contain evidence of this violation. Any search must be conducted at a reasonable time and in a reasonable manner.

  2.      You must participate in a mental health treatment program and follow the rules and regulations of that program. The
          probation officer, in consultation with the treatment provider, will supervise your participation in the program (provider,
          location, modality, duration, intensity, etc.).

  3.      You must not communicate, or otherwise interact, with co-defendants , either directly or through someone else, without first
          obtaining the permission of the probation officer.You must not make application for any loan, or enter into any residential or
          business lease agreement, without the prior approval of the probation officer.

  4.      You must not enter onto any federal lands managed by the U.S. Bureau of Land Management, the U.S. Fish and Wildlife
          Service, the National Park Service, or the U.S. Forest Service without the prior approval of the probation officer.

  5.      You must not occupy, reside on, or camp in any federal land without the prior approval of the probation officer.

  6.      If the judgment imposes a financial penalty, including any fine or restitution, you must pay the financial penalty in
          accordance with the Schedule of Payments sheet of this judgment. You must also notify the court of any changes in economic
          circumstances that might affect your ability to pay this financial penalty.

  7.      You must provide the probation officer with access to any requested financial information and authorize the release of any
          financial information. The probation office may share financial information with the U.S. Attorney’s Office.

  8.

  9.      You must not make application for any loan, or enter into any residential or business lease agreement, without the prior
          approval of the probation officer.

 10.      You must observe the Arizona Veterans’ Program as directed by the Court and/or probation office.

 11.      You must reside in and participate in the programs of a residential reentry center for a term of 365 days. You must follow the
          rules and regulations of the center.
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AO 245B         Judgment in a Criminal Case - DISTRICT OF OREGON CUSTOMIZED (Rev. 9/2017)
                Sheet 5 - Criminal Monetary Penalties
DEFENDANT: JON RITZHEIMER                                                                                            Judgment-Page 6 of 7
CASE NUMBER: 3:16-CR-00051-2-BR


                                            CRIMINAL MONETARY PENALTIES
The defendant shall pay the following total criminal monetary penalties in accordance with the Schedule of Payments set forth in this
judgment.

                         Assessment                       Fine                Restitution                TOTAL
                    (as noted on Sheet 1)

TOTALS                     $100.00                        $0.00                $10,000.00               $10,100.00


‫܆‬The determination of restitution is deferred until ___________________. An Amended Judgment in a Criminal Case will be entered
after such determination.

‫܈‬The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be
paid in full prior to the United States receiving payment.

                                                                      Amount of Restitution
          Name of Payee                                               Ordered

Friends of the Malheur Refuge        $                                $10,000.00
Attn: Jerry Moore,Treasurer
P.O. Box 513
Bend, OR 97709



‫܆‬If applicable, restitution amount order pursuant to plea agreement: $________.

‫܆‬The defendant must pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the Schedule of Payments
may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

‫܆‬The court determined that the defendant does not have the ability to pay interest and it is ordered that

          ‫܈‬The interest is waived for the restitution.

          ‫܆‬The interest requirement for the ‫ ܆‬fine and/or ‫ ܆‬restitution is modified as follows:




                   Any payment shall be divided proportionately among the payees named unless otherwise specified.
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AO 245B         Judgment in a Criminal Case - DISTRICT OF OREGON CUSTOMIZED (Rev. 9/2017)
                Sheet 6 - Schedule of Payments
DEFENDANT: JON RITZHEIMER                                                                                              Judgment-Page 7 of 7
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                                                 SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment1 of the total criminal monetary penalties shall be as follows:

          A. ‫܈‬Lump sum payment of $10,100.00 due immediately, balance due
                 ‫܆‬not later than _________, or
                 ‫܆‬in accordance with ‫ ܆‬C, ‫ ܆‬D, or ‫ ܆‬E below; or
          B. ‫܆‬Payment to begin immediately (may be combined with ‫ ܆‬C, ‫ ܆‬D, or ‫ ܆‬E below); or
          C. ‫܆‬If there is any unpaid balance at the time of defendant's release from custody, it shall be paid in monthly installments
             of not less than $_______, or not less than 10% of the defendant's monthly gross earnings, whichever is greater, until
             paid in full to commence immediately upon release from imprisonment.
          D. ‫ ܆‬Any balance at the imposition of this sentence shall be paid in monthly installments of not less than $, or not less than
             10% of the defendant's monthly gross earnings, whichever is greater, until paid in full to commence immediately.
          E. ‫܆‬Special instructions regarding the payment of criminal monetary penalties:


Unless the Court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment,
payment of criminal monetary penalties, including restitution, shall be due during the period of imprisonment as follows: (1) 50% of
wages earned if the defendant is participating in a prison industries program; (2) $25 per quarter if the defendant is not working in a
prison industries program.

It is ordered that resources received from any source, including inheritance, settlement, or any other judgment, shall be applied to any
restitution or fine still owed, pursuant to 18 USC § 3664(n).

All criminal monetary penalties, including restitution, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the Clerk of Court at the address below, unless otherwise directed by the Court, the
Probation Officer, or the United States Attorney.

                                     Clerk of Court
                                     U.S. District Court - Oregon
                                     1000 S.W. 3rd Ave., Ste. 740
                                     Portland, OR 97204


The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

‫ ܆‬Joint and Several

Case Number
Defendant and Co-Defendant
Names                                                                                                       Corresponding Payee, if
(including Defendant number)        Total Amount                        Joint and Several Amount            appropriate



‫܆‬The defendant shall pay the cost of prosecution.

‫܆‬The defendant shall pay the following court costs:

‫܆‬The defendant shall forfeit the defendant's interest in the following property to the United States:



1
 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
